       Case 2:21-mc-00036-SAB       ECF No. 2    filed 10/26/21   PageID.16 FILED
                                                                              Page     1 of 2
                                                                                  IN THE
                                                                            U.S. DISTRICT COURT
                                                                      EASTERN DISTRICT OF WASHINGTON



                                                                        Oct 26, 2021
 1                         UNITED STATES DISTRICT COURT                    SEAN F. MCAVOY, CLERK



                         EASTERN DISTRICT OF WASHINGTON
 2

 3    In Re                                         No. 2:21-MC-0036-SAB

 4    MELISSA ANN HUELSMAN,                         ORDER CLOSING DISCIPLINARY
                                                    FILE
 5                              Lawyer.

 6         On October 14, 2021, the District Court Executive/Clerk of Court filed the

 7   Notice of Disciplinary Action from the Washington State Bar Association. The file

 8   reflects that Melissa Ann Huelsman entered into a Stipulation to Reprimand based

 9   on her admitted violations of RPC 1.15A and 1.15B.

10         The Court has reviewed the file in this matter and is fully informed.

11   Whereas the offending conduct was not perpetrated in this Court and the

12   Washington State Bar Association has imposed an appropriate sanction, this Court

13   will not proceed with further discipline in this Court.

14         ACCORDINGLY, IT IS ORDERED:

15         Pursuant to LCivR 83.3(b), this matter is closed. The District Court

16   Executive is directed to send a copy of this Order to Ms. Huelsman at her address

17   of record.

18         DATED October 26, 2021.

19                       ___________________________________

20                                   Stanley A. Bastian
                              Chief United States District Judge


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       Case 2:21-mc-00036-SAB      ECF No. 2    filed 10/26/21   PageID.17 Page 2 of 2




 1                         CERTIFICATE OF SERVICE
 2

 3   I hereby certify that I served said attorney with the Order Closing Disciplinary
     File using the following methods on October 26, 2021:
 4

 5
     ☒     Service by ECF email account; and

 6
     ☒     First Class mail to the public mailing address listed in the Washington State
 7         Bar Association’s Lawyer Directory:

 8                Melissa Ann Huelsman
                  Law Offices of Melissa A Huelsman, PS
 9                705 2nd Ave Ste 606
                  Seattle, WA 98104-1715
10                                        Signature: ______________________

11                                          Date:   October 26, 2021

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     ORDER CLOSING DISCIPLINARY FILE ~ 2
